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CAROL L Merrs

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

INDICTMENT FOR DELAY AND THEFT OF F - LO NY
U.S. MAIL BY POSTAL SERVICE EMPLOYEE

UNITED STATES OF AMERICA * CRIMINAL ey 3-5
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v. * SECTION:

DAZMON DYER * vroLations ee CI g Le Ae G. 2°

18 U.S.C. § 1709

The Grand Jury charges that:
COUNT 1

Between on or about June 17, 2022 and July 27, 2022, in the Eastern District of Louisiana,
the defendant, DAZMON DYER, while an employee of the United States Postal Service, did
unlawfully secrete, detain, delay, and open mail entrusted to him and which came into his
possession, and which was intended to be conveyed by mail, and carried and delivered by any
carrier or other employee of the Postal Service, and forwarded through and delivered from any
post office or station thereof established by authority of the Postmaster General or the Postal

Service, in violation of Title 18, United States Code, Section 1703(a).

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COUNT 2
On or about July 27, 2022, in the Eastern District of Louisiana, the defendant, DAZMON
DYER, while an employee of the United States Postal Service, did knowingly steal, abstract, and
remove cash from a greeting card addressed to M.L. which had come into the defendant’s
possession intended to be conveyed by mail and delivered by a person employed in any department

of the Postal Service, in violation of Title 18, United States Code, Section 1709.

 

DUANE A. EVANS

 

UNITED STATES AT
TRGYTL. BELL “

Assistant United States Attorney
Louisiana Bar Roll No. 37424

New Orleans, Louisiana
March 31, 2023
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